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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

YAZMIN JUAREZ COYOY, on her own                   )
Behalf and as Surviving Parent of                 )
Mariee Camyl Newberry Juarez,                     )
                                                  )
        Plaintiff,                                )
                                                  )
V.                                                )     CIVIL ACTION NO. SA-19-CA-00916-FB
                                                  )
CORECIVIC, INC.,                                  )
                                                  )
        Defendant.                                )

                                       FINAL JUDGMENT

        The Court considered the Final Judgment to be entered in this case. Pursuant to Federal Rule

of Civil Procedure 58 and consistent with the opinion and verdict of the jury returned on February 13,

2024:

        IT IS ORDERED, ADJUDGED and DECREED that the Court ENTERS judgment in favor of

the Defendant, CoreCivic, Inc., and against Plaintiff, Yazmin Juarez Coyoy, on her own behalf and as

surviving parent of Mariee Camyl Newberry Juarez. The Clerk shall transmit a true copy of this Final

Judgment to the parties.

        IT IS FINALLY ORDERED, ADJUDGED and DECREED that motions pending with the

Court, if any, are Dismissed as Moot and this case is CLOSED.

        It is so ORDERED.

        SIGNED this 1st day of March, 2024.


                                       _________________________________________________
                                       FRED BIERY
                                       UNITED STATES DISTRICT JUDGE
